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     Attorney for Defendant
 5   DICKSON HUNG
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                       )   Case No.: 2:09-CR-00438-01 WBS
                                                     )
11                         Plaintiff,                )   STIPULATION AND [PROPOSED]
                                                     )   ORDER TO CONTINUE STATUS
12          vs.                                      )   CONFERENCE , AND TO EXCLUDE
                                                     )   TIME PURSUANT TO THE SPEEDY
13   DICKSON HUNG,                                   )   TRIAL ACT
                                                     )
14                         Defendant.                )
                                                     )
15
16
            IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Heiko Coppola, Assistant United States Attorney, attorney for plaintiff, and
18
     Michael E. Hansen, attorney for defendant Dickson Hung, that the previously-scheduled status
19
     conference date of September 10, 2018, be vacated and the matter set for status conference on
20
     December 10, 2018, at 9:00 a.m.
21
            This continuance is requested because defense counsel continues to review discovery
22
     received in this case, and needs additional time to do so. Discovery provided to date exceeds
23
     43,000 pages of written discovery.
24
            The Government concurs with this request.
25
            Further, the parties agree and stipulate the ends of justice served by the granting of such
26
     a continuance outweigh the best interests of the public and the defendants in a speedy trial and
27
     that time within which the trial of this case must be commenced under the Speedy Trial Act
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     Stipulation and [Proposed] Order to Continue Status Conference
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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, September 10, 2018, to and including December 10, 2018.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: September 4, 2018                                     Respectfully submitted,
 7                                                        /s/ Michael E. Hansen
                                                          MICHAEL E. HANSEN
 8                                                        Attorney for Defendant
                                                          DICKSON HUNG
 9
     Dated: September 4, 2018                             McGREGOR SCOTT
10                                                        United States Attorney
11                                                        By: /s/ Michael E. Hansen for
                                                          HEIKO COPPOLA
12                                                        Assistant U.S. Attorney
                                                          Attorney for Plaintiff
13
14                                               ORDER
15                   The Court, having received, read, and considered the stipulation of the parties,
16   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
17   order. Based on the stipulation of the parties and the recitation of facts contained therein, the
18   Court finds that it is unreasonable to expect adequate preparation for pretrial proceedings and
19   trial itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
20   specifically finds that the failure to grant a continuance in this case would deny defense
21   counsel to this stipulation reasonable time necessary for effective preparation, taking into
22   account the exercise of due diligence. The Court finds that the ends of justice to be served by
23   granting the requested continuance outweigh the best interests of the public and the defendants
24   in a speedy trial.
25                   The Court orders that the time from the date of the parties’ stipulation,
26   September 4, 2018, to and including December 10, 2018, shall be excluded from computation
27   of time within which the trial of this case must be commenced under the Speedy Trial Act,
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     Stipulation and [Proposed] Order to Continue Status Conference
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 1   pursuant to 18 U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for
 2   defense counsel to prepare).    It is further ordered that the September 10, 2018, status
 3   conference shall be continued until December 10, 2018, at 9:00 a.m.
 4          IT IS SO ORDERED.
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     Dated: September 5, 2018
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     Stipulation and [Proposed] Order to Continue Status Conference
